          Case 1:19-cv-00292-KRS Document 28 Filed 10/19/20 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


DANIEL J. CARRILLO,

                Plaintiff,

        vs.                                               No. 1:19-CV-00292-KRS

ANDREW SAUL, Commissioner of
the Social Security Administration,

                Defendant.

                                        JUDGMENT

        Having granted Plaintiff’s Motion to Reverse and Remand for a Hearing with Supportive

Memorandum (Doc. 19) in an order entered concurrently herewith, in accordance with Federal

Rule of Civil Procedure 58,

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is entered

in favor of Plaintiff.


                                           _____________________________________
                                           KEVIN R. SWEAZEA
                                           UNITED STATES MAGISTRATE JUDGE
